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                          EXHIBIT F
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                    UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEW JERSEY


 IN RE: JOHNSON & JOHNSON                      MDL No. 3:16-md-2738-MAS-LHG
 TALCUM POWDER PRODUCTS
 MARKETING, SALES PRACTICES,
 AND PRODUCTS LIABILITY                        JUDGE MICHAEL A. SHIPP
 LITIGATION                                    MAG. JUDGE LOIS H. GOODMAN



 THIS DOCUMENT RELATES TO:                     Civil Case No. 3:20-cv-03797-MAS-LHG

 DIANA LYNN LIPTON v. JOHNSON &
 JOHNSON, et al.



           [PROPOSED] ORDER GRANTING MOTION TO SUBSTITUTE
                  PARTY-PLAINTIFF UNDER RULE 25(a)(1)

 1.      Plaintiff’s Motion to Substitute Evelyn Willner, Heidi Moxon Morishita, Linda

      Moxon, and Bennett Moxon in place of Diana Lynn Lipton pursuant to Rule 25 of the

      Federal Rules of Civil Procedure is GRANTED.

 2.       Evelyn Willner, Heidi Moxon Morishita, Linda Moxon, and Bennett Moxon are

      hereby substituted in place of Diana Lynn Lipton.

 3.      Accordingly, the complaint shall caption the plaintiffs as follows: Evelyn

      Willner, Heidi Moxon Morishita, Linda Moxon, and Bennett Moxon, individually and

      co-successors-in-interest to Diana Lynn Lipton.

 DATED: _______________________                   _________________________________
                                                  UNITED STATES DISTRICT JUDGE
